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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

 UNITED STATES OF AMERICA,

        v.                                                 CASE NO.: 4:21-cr-31

 NIHAD AL JABERI,

                Defendant.

                                            ORDER

       A jury trial in the above captioned case having been conducted the week of February 15,

2022, and there being certain items entered into evidence during the course of said trial,

       IT IS HEREBY ORDERED that upon return of a jury verdict the evidence listed on the

attached receipt was returned to Counsel for the Government for safekeeping and for production

in the Court of Appeals, if necessary.

       SO ORDERED, this 25th day of February, 2022.




                                         R. STAN BAKER
                                         UNITED STATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA
